          Case 1:98-cr-01101-ILG Document 266 information
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     I request Governed by The First Amendment of the Constltulon of the United States to unseal
US V. Felix Sater, 98 cr 1101 to be unsealed In its entirety. I am concerned about a judicial coverup.

Address;
Clifton Livingston
9822 7th St N
Lake Elmo, MN 55042




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